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                                                                                2019 Oct-23 PM 03:37
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

REBECCA HOWARD,

      Plaintiff,

V.                                           Case No.:


SCHULTE HOSPITALITY                          JURY DEMANDED
GROUP,INC. d/b/a HOMEWOOD
SUITES ALABAMA,

      Defendant.

                                  COMPLAINT

      COMES NOW Plaintiff Rebecca Howard ("Plaintiff or "Howard"), by and

through her undersigned counsel of record, and files this Complaint against

Defendant Schulte Hospitality Group, Inc. d/b/a/ Homewood Suites Alabama

("Defendant"). As grounds for this Complaint, Plaintiff states the following:

                          JURISDICTION AND VENUE


       1.      Jurisdiction is invoked pursuant to 28 U.S.C. § 1331, 29 U.S.C. §

216(b), and 28 U.S.C. § 1337 because this action arises under Acts of Congress

regulating commerce.


      2.       The unlawful employment practices described herein were committed

in Huntsville, Alabama. Huntsville is located in Madison County, Alabama, and.
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accordingly, venue lies in the United States District Court for the Northern District

of Alabama, Northeastern Division, pursuant to 28 U.S.C. § 1391(b).

                                     PARTIES


      3.       Rebecca Howard is a citizen ofthe United States of America, over the

age of nineteen (19) years, a resident of the State of Alabama who is entitled to

protection pursuant to the provisions ofthe Fair Labor Standards Act("FLSA"), 29

U.S.C. § 201 et seq.. and was at all times relevant an "employee" of Defendant

within the meaning of29 U.S.C. § 203(e).

      4.       Defendant is a foreign corporation, functioning within the State of

Alabama, is an employer within the meaning of29 U.S.C. § 203(d), and was at all

times relevant Plaintiffs "employer."


      5.       Plaintiff was an employee engaged in commerce and/or in the

production of goods for commerce.

      6.       Defendant's annual gross volume of sales was five hundred thousand

dollars($500,000.00) or more.


       7.      Plaintiff performed work for Defendant by engaging in hotel

housekeeping work and used goods that were transported via interstate commerce,

thus Defendant is an "enterprise," as contemplated by 29 U.S.C. § 203(r)&(s).
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                                       FACTS


       8.      Plaintiff re-alleges and incorporates paragraphs one(1)through seven

(7)as iffully set forth herein.

       9.      Defendant hired Plaintiff in June 2016 as an Executive Housekeeper.


       10.     Plaintiff was employed by Defendant for three(3)years.

       11.     Plaintiff began as a salaried employee with an hourly rate of

approximately eighteen dollars and five cents($18.05).

       12.     On August 18, 2017, Plaintiffs salary changed, increasing her hourly

rate to eighteen dollars and fifty-four cents($18.54).

       13.     On August 17, 2018, Plaintiffs salary changed, increasing her hourly

rate to nineteen dollars and twenty-four cents($19.24).

       14.     Plaintiff engaged in housekeeping duties including but not limited to,

laundry, stocking cleaning supplies, outlining housekeeping roles for each workday,

and cleaning and inspecting hotel rooms.

       15.     Despite Plaintiffs executivejob title, she performed the same duties as

other housekeepers.


       16.     Therefore, Plaintiffs job duties did not exempt her from protection

 under the FLSA.
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      17.    Defendant is not exempt from FLSA coverage in relation to Plaintiffs

employment.


      18.    Plaintiff worked over forty(40)hours each week.


      19.    Defendant only paid Plaintiff the salaried hourly rate for forty (40)

hours each week.


      20.    Defendant failed to pay Plaintiff for hours worked in excess of forty

(40)each week.


      21.    Defendant failed to pay Plaintiff the overtime rate for hours worked in

excess offorty(40)each week.


      22.    To date, Defendant has not paid Plaintiff for wages and overtime due.

                                    COUNTI
            VIOLATIONS OF THE FAIR LABOR STANDARDS ACT
                 (Minimum Wage Violations-29 U.S.C.§ 206)
      23.    Plaintiff is not exempt from protections provided by the FLSA.

      24.    Defendant is not exempt from coverage under the FLSA.

      25.     Defendant has a duty to keep certain records pursuant to 29 U.S.C. §

211(c), which Plaintiff will be relying upon in prosecuting her claims.

      26.     Defendant is required to compensate Plaintiff for each hour worked,

pursuant to 29 U.S.C. § 206.

      27.     Defendant failed to compensate Plaintiff at the minimum wage rate.
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      28.    Plaintiff worked in excess of forty (40) hours each week, up to one

hundred and twenty(120)hours.

      29.    Plaintiffs salary was insufficient to meet the minimum wage standard

as it reduced Plaintiffs overall hourly rate to below the minimum wage of seven

dollars and twenty-five cents ($7.25).

      30.    Defendant's denial ofPlaintiffs minimum wage was willful.

      31.    Defendant's failure to pay Plaintiffthe minimum wage due was willful

and without good faith, as defined in 29 U.S.C. § 260.

      32.    Defendant willfully violated the minimum wage provisions of the

FLSA,29 U.S.C. § 206 and 29 U.S.C. § 215(a)(2).

                                    COUNT II
            VIOLATIONS OF THE FAIR LABOR STANDARDS ACT
                     (Overtime Violations-29 U.S.C.§ 207)
      33.    Plaintiff is not exempt from protections provided by the FLSA.

      34.     Defendant is not exempt from coverage under the FLSA.

      35.     Defendant has a duty to keep certain records pursuant to 29 U.S.C. §

211(c), which Plaintiff will be relying upon in prosecuting her claims.

      36.     Defendant failed to compensate Plaintiff at the overtime rate required

by 29 U.S.C. § 207, for hours worked in excess of forty (40)each work week.

      37.     Defendant's denial ofPlaintiffs overtime was willful.
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      38.   Defendant's failure to pay Plaintiff overtime due was willful and

without good faith, as defined in 29 U.S.C. § 260.

      39.   Defendant willfully violated the overtime provisions of the FLSA, 29

U.S.C. § 207 and 29 U.S.C. § 215(a)(2).

      WHEREFORE, Plaintiff respectfully requests this Court grant to Plaintiff

the following:

      A.    All wages and overtime due to Plaintiff under the FLSA for the time
            Plaintiff was employed by Defendant;

      B.    Liquidated damages in an equal amount;

      C.    A reasonable attorneys' fee;

      D.    Plaintiffs costs and expenses;

      E.    Interest on all monies owed; and

      F.    Any other relief the Court deems just and appropriate.

            Respectfully submitted this 23nd day of October 2019.

                                                     inMJ.
                                      J^sica M. Wolinsky(AS^^^M^-L670)
                                      /mthony D. Michel(A§B^6w9-064M)
                                      Attorneysfor Plaintiff, Rebecca Howard

WRADY MICHEL & KING
505 20"^ Street North, Suite 1650
Birmingham, AL 35203
P:(205)980-5700
F:(205)994-2819
iessica@wmalabamalaw.coin
anthonv@wmalabamalaw.com
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                             JURY DEMAND

   Plaintiff demands a trial by struck jury.


                                    Respectfully submitted,




                                               omey for Plaintiff




PLEASE   SERVE     DEFENDANT          VIA      CERTIFIED      MAIL   AT   THE
FOLLOWING ADDRESS:

   Schulte Hospitality Group,Inc. d/b/a/ Homewood Suites Alabama
   do Corporation Service Company Inc.
   641 South Lawrence Street
   Montgomery, Alabama 36104




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